Case 2:21-cv-00133-JRG-RSP Document 59 Filed 06/09/22 Page 1 of 2 PageID #: 357




                        IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

  CERTIFIED ROSES, INC.,                          §
  502 SCENIC DRIVE, LLC,                          §
  Individually and on Behalf of                   §
  all Others Similarly Situated,                  §
                                                  §
         Plaintiffs,                              §            CASE NO. 2:21-cv-133-JRG-RSP
                                                  §
  v.                                              §
                                                  §
  SYMMETRY ENERGY                                 §
  SOLUTIONS, LLC,                                 §
                                                  §                  JURY TRIAL DEMANDED
         Defendant.                               §

                                    JOINT STATUS REPORT

        Plaintiffs Certified Roses, Inc. and 502 Scenic Drive, LLC, Individually and on Behalf of

 all Others Similarly Situated, (“Plaintiffs”) and Defendant Symmetry Energy Solutions, LLC

 (“Defendant”) (collectively the “Parties”) file this Joint Status Report.

        The parties have agreed to participate in another mediation session with the Court-

 appointed mediator, Judge David Folsom, scheduled for Friday, June 17, 2022, with the intention

 of finalizing a settlement agreement.

 Dated: June 9, 2022


                                                       Respectfully submitted,


                                                       /s/ Derek H. Potts
                                                       Derek H. Potts
                                                       Texas Bar No. 24073727
                                                       T. Micah Dortch
                                                       Texas Bar No. 24044981
                                                       J. Ryan Fowler
                                                       Texas Bar No. 24058357
                                                       POTTS LAW FIRM, LLP
Case 2:21-cv-00133-JRG-RSP Document 59 Filed 06/09/22 Page 2 of 2 PageID #: 358




                                                     3737 Buffalo Speedway, Suite 1900
                                                     Houston, Texas 77098
                                                     Tel: (713) 963-8881
                                                     dpotts@potts-law.com
                                                     mdortch@potts-law.com
                                                     rfowler@potts-law.com


                                                     ATTORNEYS FOR PLAINTIFFS


                                                     /s/ Sean McMahon
                                                     Robert J. Malionek (pro hac vice)
                                                     Sean McMahon (pro hac vice)
                                                     LATHAM & WATKINS LLP
                                                     1271 Avenue of the Americas
                                                     New York, NY 10020
                                                     Tel: (212) 906-4673
                                                     robert.malionek@lw.com
                                                     sean.mcmahon@lw.com

                                                     ATTORNEYS FOR DEFENDANT


                                   CERTIFICATE OF SERVICE

         The undersigned certifies that on June 9, 2022, all counsel of record who are deemed to

 have consented to electronic service are being served with a copy of this document via the Court’s

 CM/ECF system per Local Rule CV-5(a)(3). Any other counsel of record will be served in

 accordance with the Federal Rules of Civil Procedure.

                                                     /s/ Derek H. Potts
                                                     Derek H. Potts


                                CERTIFICATE OF CONFERENCE

         The undersigned certifies compliance with Local Rule CV-7(h) and that the Status Report

 is being filed jointly by the Parties.

                                                     /s/ Derek H. Potts
                                                     Derek H. Potts


                                                 2
